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                                           UNITED STATES BANKRUPT~),;:,f~URrJ
                                                                       !.J~-Lc   ~
                                          SOUTHERN DISTRICT OF OHIO (DAYTON)

   INRE:                                                    *                         CASE Nb.· I 9-30822

   T AGNETICS INC.                                          *                         CHAPTER 7

   INVOLUNTARY DEBTOR                                       *

            NOTICE OF WITHDRAW AL OF MOTION TO HOLD TAGNETICS IN CRIMINAL
                                      CONTEMPT

                            FROM: Jonathan Hager, Kenneth Kayser, and Ronald Earley



   On May 19, 2020 the Petitioning Creditors filed a Motion to Hold Tagnetics in Criminal Contempt (doc.
   I 81). The motion was filed since the prior action of the Court finding Tagnetics in Civil Contempt did not
   yield any response from Tagnetics. The Petitioning Creditors now file this Notice to inform the Court that
   they will be withdrawing the previously filed Motion to Hold Tagnetics in Criminal Contempt for the
   following reasons.

   The filing of the Motion was not disingenuous as its motivation was to inform the Court that Tagnetics had
   not complied with its orders and asked the Court to consider other ways to simply collect the payments
   from Tagnetics. The recent Court Order ( doc. 194) stated the Court will be establishing an evidentiary
   hearing to revisit the civil contempt matter. In light of this withdrawal, the Petitioning Creditors ask that
   this topic return to the scheduled hearing so that we may identify and resolve any roadblocks that have
   prevented Tagnetics from executing the Order Granting in Part Tagnetics' A1otion to Enforce Settlement
   Agreement and Ordering Other Matters [Doc. No. 1 I 9]. Our only goal has always been to collect on the
   agreed settlement.

   Another reason for this withdrawal is that the pro se parties determined it would be difficult to generate a
   memoranda with a conclusive position. We have found there is significant uncertainty in the literature and
   case law regarding whether the Bankruptcy Court has the authority to issue a criminal sanction. Many
   Districts have not concluded whether the Bankruptcy Court does or does not have the authority, the latitude
   held by the Court is also unclear. The Petitioning Creditors do not wish to tread new ground on this matter
   which would consume significant time and expense for the Court and the parties involved. If the Bankruptcy
   Court has the authority to issue the sanction it is less clear it has the authority to conduct a criminal contempt
   proceeding. The anticipated delays regarding this process would contradict the Petitioning Creditors goal
   to bring this matter to a close and have Tagnetics provide the agreed payments.

   Respectfully subµiitted June f7, 2020,
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   Jopathan Hager, pro se

  G842 Paint Bank Rd

   Salem, VA 24153
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     ;?~!~
   Ronald E. Earley, prose
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   P.O. Box 115
   Catawba, VA 24070
   Email: drkwkayser@gmail.com
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                                         CERTIFICATE OF SERVICE
   I hereby certify that on June 17, 2020, a copy of the foregoing, a copy of the foregoing Notice of
   Withdrawal of Motion to Hold Tagnetics in Criminal Contempt was (i) submitted to the Clerk of the
   Court at the Courthouse and (ii) electronically by email to counsel for Tagnetics, Inc. and (iii) mailed to
   the Office of the Trustee.



   Stephen B. Stern, Esq.

   Kagan Stern Marinello & Beard, LLC

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   Annapolis, Maryland 21401

   Stern(a!kaganstern.com



   Mary Anne Wilsbacher

   Office of the United States Trustee

   170 North High Street

   Suite 200

   Columbus, OH 43215




                                                                               Ronald E. Earley, pro se
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                                  DROP BOX FILING INSTRUCTIONS

                                    FOR NON-EMERGENCY FILINGS
                                                                               .               '
1. Place the document for filing or payment to the Clerk's Office in the envelope.

IF YOU ARE MAKING A PAYMENT: CASH IS NOT ACCEPTED. THE CLERK'S OFFICE IS
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SHALL BE MADE BY MONEY ORDER OR CERTIFIED FUNDS. PLEASE INCLUDE THE
CASE NUMBER AND DEBTOR'S NAME ON ALL FORMS OF PAYMENT. PAYMENTS
SHALL BE MADE PAYABLE TO "CLERK, US. BANKRUPTCY COURT."

2. Seal the envelope and complete the following information:


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      (If different than the debtor name)                             ~,
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      PAYMENT AMOUNT (If applicable): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      PURPOSE OF THE PAYMENT: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      FORM OF PAYMENT:             D Money Order Ocertified Check D Other _ _ _ __
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      NOTES:
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3. The Clerk's Office will clear items from the drop box periodically during regular business
hours and process them the same business day. A receipt will be mailed to the address listed
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